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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
       Plaintiff,
                                                          1:18-cr-00032-DLF
v.

INTERNET RESEARCH AGENCY LLC, et
al.,

       Defendants.


DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S UNOPPOSED
 MOTION FOR AN EXTENSION OF TIME TO SUBMIT BRIEFING REGARDING
                           PROTECTIVE ORDER
    Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”), by

and through undersigned counsel, respectfully requests a brief extension of time by which to

submit briefing regarding the parties’ request for a protective order. The United States consents

to the relief sought. In support of this motion, Defendant states as follows:

       1.      During the June 15, 2018 status conference and motion hearing, the Court

requested that the parties confer to try to reach an agreement regarding the terms of the

protective order. The Court provided the parties ten days to submit a joint protective order and

stated that if there were areas of disagreement, the parties may file at the same time a brief of no

more than ten pages supporting their respective positions.

       2.      The parties conferred by telephone on Tuesday, June 19, 2018, and subsequently

conferred by email and came to an agreement on several issues, but three areas of disagreement

remain.

       3.      There was a misunderstanding between the parties as to whether each side would

be submitting briefing on the issues. The United States believed that the parties had agreed to



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submit further briefing on the areas of disagreement; the Defendant believed that the parties had

agreed not to submit further briefing.

       4.       In preparation for today’s filings, the misunderstanding between the parties

became clear.

       5.       The parties have reached an agreement, subject to the Court’s approval, that

Defendant will have until 5:00 pm on Tuesday, June 26, 2018 to respond to any arguments

contained in the briefing submitted today by the United States. Defendant agrees that any such

response will be no more than ten pages, and in the event that Defendant’s position is already set

forth in the opposition filed on June 14, 2018, Defendant will inform the Court.

       A proposed order is attached.

Dated: June 25, 2018                                Respectfully submitted,

                                                    CONCORD MANAGEMENT AND
                                                    CONSULTING LLC

                                                    By Counsel

                                                    /s/Eric A. Dubelier

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